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 7

 8

 9                               UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11                                     OAKLAND DIVISION
12

13   IN RE: CATHODE RAY TUBE (CRT)               Master File No. 4:07-cv-5944-JST
     ANTITRUST LITIGATION
14                                               MDL No. 1917
15                                               RENEWED NOTICE OF MOTION AND
     This Document Relates to:                   MOTION OF NON-REPEALER STATE
16                                               SUBCLASS MEMBER ELEANOR LEWIS TO
     All Indirect Purchaser Actions              INTERVENE
17
                                                 Hearing Date: January 22, 2020
18                                               Time:         2:00 p.m.
                                                 Judge:        Honorable Jon S. Tigar
19                                               Courtroom: 6, 2nd Floor
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        RENEWED NOTICE OF MOTION AND MOTION OF NON-REPEALER STATE SUBCLASS MEMBER
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 1                                   NOTICE OF MOTION AND MOTION

 2          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE that on January 22, 2020 at 2:00 p.m., or as soon thereafter as

 4   the matter can be heard before the Honorable Jon S. Tigar, United States District Court for the

 5   Northern District of California, located at 1301 Clay Street, Oakland, California, 94612, Non-

 6   Repealer State (“NRS”) class member Eleanor Lewis will, and hereby does, move the Court,

 7   pursuant to Rule 24 of the Federal Rules of Civil Procedure, for an Order permitting Ms. Lewis to

 8   intervene as a party plaintiff in the above-captioned action, and pursuant to the Court’s direction,

 9   to file a separate Complaint.

10          This motion is based on this Notice, the accompanying Memorandum of Points and

11   Authorities, any arguments and evidence that may be presented at any hearing before the Court on

12   this motion, all transcripts of prior proceedings before this Court and on all other pleadings and

13   papers on file in this action. A proposed Complaint in intervention is attached hereto as Exhibit 1.

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                                               1
          RENEWED NOTICE OF MOTION AND MOTION OF NON-REPEALER STATE SUBCLASS MEMBER
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 11                        MEMORANDUM OF POINTS AND AUTHORITIES

 22          I.      INTRODUCTION

 33          Pursuant to this Court’s Order dated October 15, 2019 (ECF No. 5626), NRS Subclass

 44   member Eleanor Lewis hereby submits this memorandum in support of her renewed motion to

 55   intervene in this action. In addition to the contents of this memorandum, Ms. Lewis incorporates

 66   by this reference all of the points and authorities regarding permissive and as-of-right intervention

 77   from her opening and reply memoranda filed in support of her original Motion. See ECF Nos.

 88   5565 and 5613.1 Accordingly, those arguments will not be repeated herein.

 99          II.     THE PROPOSED NRS SUBCLASS COMPLAINT CONTAINS NO
                     MATERIAL CHANGES FROM THE OPERATIVE CONSOLIDATED
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10                   AMENDED COMPLAINT AND IS DESIGNED PRIMARILY TO ADD
                     ELEANOR LEWIS AS A NAMED PLAINTIFF IN THIS LITGATION
11
11
             As highlighted in her prior Motion, the single material change that Ms. Lewis seeks to
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12
      make from the claims and allegations relevant to the Nationwide Class contained in the current
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13
      operative Consolidated Amended Complaint,2 is to elevate putative class member Eleanor Lewis
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14
      to become a named plaintiff. See Proposed Lewis Complaint, attached hereto as Exhibit 1, ¶ 18.
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15
      Ubaldi v. SLM Corp., No. C-11-01320 EDL, 2014 U.S. Dist. LEXIS 192288, at *4 (N.D. Cal. June
16
16
      13, 2014) (“[A] motion to intervene is a proper procedure to follow for a class member who wishes
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17
      to join a lawsuit as a representative plaintiff.”) Accordingly, the proposed Complaint in
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18
      intervention contains no material changes to the allegations of the putative nationwide class, and
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19

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      1
        In her previous Motion, Ms. Lewis sought leave to amend the operative Fourth Consolidated
21
21    Amended Complaint (ECF No. 1526) in conjunction with the Omitted Repealer States, or in the
      alternative, to intervene in order to amend the complaint. The Court determined that “Lewis’s
22
22    intervention motion may ‘provide enough information to state a claim’”, but has required Lewis
      ‘to file a separate pleading to fully apprise defendant[s] and the court of the basis for [her] claims
23
23    in intervention.’” ECF No. 5626 at 2 (quoting Lennar Mare Island, LLC v. Steadfast Ins. Co.,
      Nos. 2:12-cv-02182-KJM-KJN, 2:16-cv-00291-KJM-KJN, 2016 U.S. Dist. LEXIS 139383, at *18
24
24    (E.D. Cal. Oct. 6, 2016). Pursuant to this directive, a proposed Complaint is attached hereto as
      Exhibit 1.
25
25    2
        The operative complaint at the time of Ms. Lewis’s original Motion was the IPP Fourth
26
26    Consolidated Amended Complaint. ECF No. 1526. Since then, this Court issued an Order
      pursuant to Stipulation for the conditional filing of a Fifth Consolidated Amended Complaint and
27
27    Second Amended Complaint against the Thomson entities which substituted certain named
      plaintiffs within the IPP state law damage subclasses. ECF Nos. 5585 (Stipulation) & 5589, 5600
28
28    (Complaints). None of the changes in the Fifth Consolidated Amended Complaint are relevant to
      Ms. Lewis’s renewed Motion.
                                               2
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 11   no changes to that class’s previously asserted Sherman Act antitrust claim. Ms. Lewis’s claims,

 22   and those of the nationwide class members, including the Non-Repealer State (“NRS”) subclass

 33   recently recognized by this Court, have been prosecuted consistently in this MDL since at least the

 44   first consolidated amended complaint. This motion to intervene presents no surprises and no

 55   expansion of the claims heretofore raised in this litigation.

 66          The differences in language between the Fourth and Fifth Consolidated Amended

 77   Complaints and the intervention complaint proposed by Ms. Lewis are described below for the

 88   Court’s convenience. Most of the differences stem from the fact that Lead Counsel Alioto

 99   declined to consent to an amendment adding Ms. Lewis as an additional plaintiff to the

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10    Consolidated Amended Complaint, and this Court’s Order that she not submit a joint pleading with

11
11    the ORS subclass members also seeking to intervene. Therefore, Ms. Lewis’s complaint in

12
12    intervention is brought by a single plaintiff who is not asserting any state law damage claims.

13
13    Other language differences simply reflect certain practical realities brought about by events that

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14    have occurred in the years since the beginning of the case, including the addition of some facts

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15    developed by the parties in discovery, and the elimination of parties and class members that have

16
16    settled, been dismissed or ceased to exist.

17
17           III.    SUMMARY OF CHANGES FOR THE COMPLAINT

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18           For the Court’s convenience, below is a summary of the proposed changes that distinguish

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19    the proposed Lewis Complaint from the Consolidated Amended Complaints:

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20           1)      Eleanor Lewis is the sole named plaintiff and brings her federal antitrust claim on

21
21    behalf of a single nationwide class. This has required edits to nomenclature throughout the

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22    pleading, such as now referring to “Plaintiff”, a single “Class”, and corresponding grammatical

23
23    changes.

24
24           2)      Allegations of the state law damage classes, state law claims, and certain factual

25
25    allegations that are particular to the State Law Damage Classes have been deleted. This has

26
26    required corresponding revisions to allegations regarding the illegal obtaining of money from

27
27    Nationwide Class members as a result of the alleged antitrust violations to reflect that the sole

28
28    claim being advanced is a nationwide federal Sherman Act claim seeking equitable relief. See,
                                               3
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 11   e.g., Lewis Complaint, Section II., deletion of certain state-law subject matter jurisdiction

 22   allegations; ¶ 9.a. (now alleging “damages to the residents of the United States identified herein”

 33   rather than limited to certain states); ¶ 200 (now alleging instead of the pass-through allegations

 44   that the “overcharge at issue was taken from Class members by Defendants”); accord ¶¶ 201, 203,

 55   208, 211; Prayer for Relief A (deleting reference to “state antitrust laws, state consumer protection

 66   and/or unfair competition laws”).

 77           3)      Samsung Electronics Co., Ltd. (“SEC”) and Samsung Electronics America, Inc.

 88   (“SEAI”) have been deleted from the list of Defendants, along with corresponding references to

 99   these entities elsewhere in the Complaint. In March 2013, after the Fourth Consolidated Amended

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10    Complaint was filed, IPPs, SEC and SEAI entered into a voluntary stipulated dismissal without

11
11    prejudice. ECF No. 1593. IPPs conducted an investigation into the law and facts concerning the

12
12    claim that neither SEC nor SEAI at any time made or sold CRTs during the class period, but rather

13
13    SEC purchased CRTs, and concluded that dismissing IPPs’ claims against SEC and SEAI was in

14
14    the best interests of the class. Id.

15
15            4)      Panasonic Corporation of North America (“PNA”) has been deleted from the list of

16
16    Defendants. PNA (and Panasonic Corporation) moved for summary judgment on the basis that

17
17    there was insufficient evidence of their participation in the alleged conspiracy to proceed to trial.

18
18    ECF No. 3001. IPPs opposed the motion. ECF No. 3248. The Court granted the motion as to

19
19    PNA and dismissed the claims against PNA. ECF No. 5119.

20
20            5)      MT Picture Display Co., Ltd. (“MTPD”) has been deleted from the list of

21
21    Defendants. As of May 23, 2019, MTPD was dissolved and no longer exists as a going concern.

22
22            6)      Chunghwa Picture Tubes Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.

23
23    (collectively “Chunghwa”) have been moved from the list of Defendants to the list of Co-

24
24    conspirators. See Lewis Complaint, ¶¶ 79-81. Plaintiffs settled nationwide class claims with

25
25    Chunghwa and the Court entered judgment dismissing Chunghwa in 2012. That judgment is final.

26
26    ECF Nos. 1105, 1106.

27
27            7)      LG Electronics Inc.; LG Electronics U.S.A., Inc.; and LG Electronics Taiwan

28
28    Taipei Co., Ltd. (collectively, “LG”) have been moved from the list of Defendants to the list of
                                               4
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 11   Co-conspirators. See Lewis Complaint, ¶¶ 75-78. Plaintiffs settled nationwide class claims with

 22   LG and the Court entered judgment dismissing LG in 2014. That judgment is final. ECF Nos.

 33   2542, 2543.

 44           8)      Thomson SA and Thomson Consumer Electronics, Inc. (collectively, “Thomson”),

 55   Technologies Displays Americas LLC (“TDA”) and Videocon Industries, Ltd. (“Videocon”) have

 66   been named as Defendants. See Lewis Complaint ¶¶ 61-68. These allegations are the same, or

 77   substantially the same, as those appearing in the IPP Fourth Amended Complaint (ECF No. 1526)

 88   (naming Thomson as a co-conspirator), IPP First Amended Thomson Complaint (ECF No. 3871-4)

 99   (redacted version) and IPP Second Amended Thomson Complaint (ECF No. 5600). Each of the

10
10    separate Complaints against Thomson alleged a Nationwide Class. ECF No. 1526, ¶ 243; ECF

11
11    No. 3871-4, ¶ 255; ECF No. 5600, ¶ 255.

12
12            9)      Washington and Illinois residents have been removed from the putative NRS

13
13    Subclass (see Lewis Complaint ¶ 223) for the reasons stated in the Stipulation pending before this

14
14    Court, between the Attorneys General of Washington and Illinois and Liaison Counsel for the NRS

15
15    Subclass. See ECF No. 5639.

16
16            10)     The Jury Demand has been deleted, since the Complaint asserts claims solely for

17
17    equitable relief.

18
18            11)     Other minor language changes:

19
19                    a. Adding the phrase “some of whom are unknown to Plaintiff at this time and

20
20                        therefore are”, in ¶ 70;

21
21                    b. Adding the phrase “and co-conspirators, including Samsung and Thomson” at

22
22                        the end of the sentence, in ¶ 122;

23
23                    c. Adding additional facts concerning the Thomson Defendants’ role in the alleged

24
24                        conspiracy in ¶¶ 153, 158-161, 180, which are substantially the same allegations

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25                        that appear in the IPP First Amended Thomson Complaint at ECF No. 3871-4

26
26                        (redacted version) and/or the Second Amended Thomson Complaint filed as

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27                        ECF No. 5600;

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 11                  d. Adding facts concerning the Samsung SDI Amended Plea Agreement with the

 22                      DOJ, in ¶ 182;

 33                  e. Adding facts concerning the December 5, 2012 European Commission decision

 44                      and imposition of fines on certain Defendants, in ¶190;

 55                  f. Relocating what is now ¶¶ 218-222 from where the fraudulent concealment

 66                      allegations appear in the Consolidated Complaint to a more logical position

 77                      earlier in the pleading, and adding facts in ¶ 221 concerning documents further

 88                      supporting Defendants’ efforts to conceal their price-fixing activities; and

 99                  g. Providing further details regarding the composition of the Nationwide Class, in

10
10                       ¶ 223.

11
11           IV.     CONCLUSION

12
12           For all of the above reasons and for the reasons set forth in ECF Nos. 5565 and 5613, this

13
13    Court should grant this renewed motion, permit NRS Subclass member Eleanor Lewis to intervene

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14    as a named plaintiff, and give her leave to file the proposed Lewis Complaint to accomplish this

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15    purpose. Ms. Lewis respectfully suggests that this Court also order that following the filing of the

16
16    Complaint in intervention, all plaintiffs should meet and confer and file a single consolidated

17
17    amended complaint covering the claims advanced by the Nationwide Class, its NRS subclass and

18
18    each of the repealer state state-law damages subclasses. A single Consolidated Complaint is

19
19    customary is multidistrict litigation, will simplify the number of pleadings to which the defendants

20
20    must respond, and has been the practice in this litigation. A proposed form of order is filed

21
21    herewith.

22
22    Dated: November 7, 2019                       Respectfully Submitted,
23
23                                                      /s/ Tracy R. Kirkham
                                                     Tracy R. Kirkham
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                                                    Tracy R. Kirkham (69912)
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                                                    John D. Bogdanov (215830)
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 11                                          jdb@coopkirk.com

 22                                   Interim Lead Counsel for the Non-Repealer
                                      State Subclass
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